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            EXHIBIT PP
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  (SGY7MKR )RZIPSTI -( )')&'%*'*')




                                                TOKEN SALE AGREEMENT (SEED ROUND)



                         PLEASE READ THE TERMS SET OUT HEREIN CAREFULLY. THE TOKENS ARE NOT
                         INTENDED TO CONSTITUTE SECURITIES OF ANY FORM, UNITS IN A BUSINESS TRUST,
                         UNITS IN A COLLECTIVE INVESTMENT SCHEME OR ANY OTHER FORM OF
                         INVESTMENT IN ANY JURISDICTION. THIS AGREEMENT DOES NOT CONSTITUTE A
                         PROSPECTUS OR OFFER DOCUMENT OF ANY SORT ANO IS NOT INTENDED TO
                         CONSTITUTE AN OFFER OF SECURITIES OF ANY FORM, UNITS IN A BUSINESS TRUST,
                         UNITS IN A COLLECTIVE INVESTMENT SCHEME OR ANY OTHER FORM OF
                         INVESTMENT, OR A SOLICITATION FOR ANY FORM OF INVESTMENT IN ANY
                         JURISDICTION. NO REGULATORY AUTHORITY HAS EXAMINED OR APPROVED OF
                         THIS AGREEMENT, AND NO ACTION HAS BEEN OR WILL BE TAKEN IN RESPECT OF
                         OBTAINING SUCH APPROVAL BY VENDOR (AS DEFINED HEREIN) UNDER THE LAWS,
                         REGULATORY REQUIREMENTS OR RULES OF ANY JURISDICTION. THE PROVISION
                         OF THIS AGREEMENT TO YOU DOES NOT IMPLY THAT THE APPLICAB LE LAWS,
                         REGULATORY REQUIREMENTS OR RULES HAVE BEEN COMPLIED WITH.

                         PLEASE NOTE THAT VENDOR (AS DEFINED HEREIN) WILL NOT OFFER OR SELL TO
                         YOU, AND YOU ARE NOT ELIGIBLE TO PURCHASE ANY TOKENS (AS DEFINED
                         HEREIN) IN THE TOKEN SALE (AS DEFINED HEREIN) IF:

                         (A) YOU ARE LOCATED IN THE PEOPLE'S REPUBLIC OF CHINA OR IF YOU ARE A
                             CITIZEN OR RESIDENT (TAX OR OTHERWISE) OF, OR DOMICILED IN, THE
                             PEOPLE'S REPUBLIC OF CHINA;

                         (B) YOU ARE LOCATED IN THE UNITED STATES OF AMERICA OR IF YOU ARE A
                             CITIZEN , RESIDENT (TAX OR OTHERWISE) OR GREEN CARD HOLDER OF, OR
                             DOMICILED IN, THE UNITED STATES OF AMERICA, UNLESS YOU ARE A U.S.
                             QUAFLIED PERSON (AS DEFINED HEREIN); OR

                         (C) SUCH TOKEN SALE IS PROHIBITED, RESTRICTED OR UNAUTHORIZED IN ANY
                             FORM OR MANNER WHETHER IN FULL OR IN PART UNDER THE LAWS,
                             REGULATORY REQUIREMENTS OR RULES IN THE JURISDICTION IN WHICH YOU
                             ARE LOCATED,

                         AT THE TIME OF YOUR INTENDED PURCHASE OR PURCHASE OF THE TOKENS
                         PURSUANT TO THIS AGREEMENT.




FOIA Confidential Treatment Requested by Polychain                                                   POLY00000098
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                                                  TOKEN SALE AGREEMENT (SEED ROUND)

                          THIS TOKEN SALE AGREEMENT (SEED ROUND) (this "Agreement") is entered into this
                         11th day of July 2018, by Vendor (as defined below) and THE PERSON/COR PORATION
                         WHOSE PARTICULAR S ARE SET OUT IN SCHEDULE 1 HERETO ("Buyer"), in connection
                         with certain cryptographic tokens (as set out in Exhibit 1 herein) ("Tokens") to be created and
                         distributed by Vendor in furtherance of the establishment and operation of the systems (as
                         described in White Paper (as defined below)) (the "Project") to be developed by a company
                         to be incorporated in Singapore ("Project Company"). The Tokens are intended to function as
                         the cryptographic currency for use within the Project as described in the version or draft of the
                         White Paper entitled "Terra : A price-stable and democratic money-as-protocol" and accessible
                         at http://terra.money.

                         "Vendor" shall be a company incorporated in the British Virgin Islands to be named "Terraform
                         Labs Limited" (or if such name is unavailable, such other similar name as determined by the
                         Project Company).

                         Pursuant to Section 104 of the BVI Companies Act ("BVI Section 104") "a person who enters
                         into a written contract in the name of or on behalf of a company before the company is
                         incorporated, is personally bound by the contract ... except where ... the company adopts the
                         contract .. .': and "a company may, by any action or conduct signifying its intention to be bound
                         by a written contract entered into in its name or on its behalf before it was incorporated, adopt
                         the contract .. .", and when "... a company adopts a contract ... the company is bound by, and
                         entitled to the benefits of, the contract as if the company had been incorporated at the date of
                         the contract and had been a party to it .. .".

                         Terraform Labs Pte. Ltd. (Singapore Company Number: 201813807M) ("Proxy") is entering
                         into this Agreement on behalf of Vendor prior to Vendor's incorporation , with the intention that
                         this Agreement will be ratified by Vendor after its incorporation (" Ratification").

                         Each of Vendor and Buyer shall hereinafter be referred to as a "Party", and collectively, Vendor
                         and Buyer shall hereinafter be referred to as the "Parties".

                         NOW, THEREFORE , in consideration of the mutual agreements contained below, and other
                         good and valuable consideration , the receipt and sufficiency of which is hereby acknowledged ,
                         the Parties hereby agree as follows :

                                                               1.       DEFINITIONS

                         1.1.    Definitions of Certain Terms. The tenns defined in this Article 1.1, whenever used in
                                 this Agreement shall have the respective meanings indicated below.

                                 Affiliate : with respect to any Person , any other Person directly or indirectly controlling,
                                 controlled by or under common control with such Person.

                                 BTC: means Bitcoin core, the cryptographic token native to the Bitcoin core blockchain.

                                 Buyer Tokens : as defined in Schedule 1.

                                Claim Period : as defined in Schedule 2.

                                Designated Digital Asset : means such Digital Asset-type as set out in Schedule 1.

                                Digital Asset : means BTC, ETH or such other cryptographic assets that Vendor may
                                agree.




FOIA Confidential Treatment Requested by Polychain                                                                               POLY00000099
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                                  Encumbrances : in relation to any Buyer Token, means any lien , charge, mortgage,
                                  pledge, option , rights of pre-emption, hypothecation, claims, restrictions on transfer,
                                  encumbrances , priority or security interest, over or in such Buyer Token , or any
                                  agreement or arrangement for or to similar effect.

                                  ETH : means the cryptographic token native to the Ethereum blockchain, which for
                                                                                                                   the
                                  avoidance of doubt does not refer to the Ethereum Classic token.

                                 Governmental Authority : any nation or government, any state or other political
                                 subdivision thereof, any entity exercising legislative , executive, judicial
                                                                                                                          or
                                 administrative functions of or pertaining to government, including , without limitation
                                                                                                                            ,
                                 any government authority, agency, department, board , commission or instrumentality,
                                 and any court, tribunal or arbitrator(s) of competent jurisdiction, and any self-regulatory
                                 organization . For the avoidance of doubt, Governmental Authority may include private
                                 bodies exercising quasi-governmental, regulatory or judicial-like functions to the extent
                                 they relate to any Party, the Tokens and/or the Project.

                                 Incorporation : means the incorporation of the Vendor.

                                 Initial Token Launch : means the online sale and/or distribution of Tokens by
                                                                                                                     the
                                 Vendor to the general public in a campaign to be initiated and conducted by the Vendor.

                                  Intellectua l Property : means all of the following in any jurisdiction throughout the world:
                                 (a) all inventions (whether patentable or unpatentable and whether or not reduced
                                                                                                                             to
                                 practice), including without limitation the Project technology , all im provements thereto,
                                 and all patents, patent applications, and patent disclosures, together with
                                                                                                                            all
                                 reissuances , continuations, divisions, continuations in-part, revisions, and extensions
                                                                                                                               ;
                                 (b) all trademarks, service marks, trade names, trade dress, logos, business and
                                product names, corporate names, Internet domain names, slogans , other source
                                 identifiers , together with all translations, adaptations , derivations , and combinatio
                                                                                                                            ns
                                thereof and including all goodwill associated therewith, and all application
                                                                                                                             s,
                                registrations and renewals in connection therewith; (c) all copyrightable works ,
                                                                                                                            all
                                copyrights and all applications, registrations and renewals in connection therewith , and
                                all moral rights (and sim ilar non-assignable rights) and all benefits of waivers of moral
                                rights (and similar non-assignable rights) therein ; (d) all trade secrets and confid ential,
                                technical and business informati on (including but not limited to ideas, research and
                                development, algorithms , compositions , processes , designs, drawings, formulae, trade
                                secrets , know-how, industrial models, business methods, technical data and
                                information, engineering and technical drawings, product specifications and
                                confidential bus iness information); (e) mask work and other semiconductor chip rights
                                and all applications, registrations and renewals in connection therewith ; (f) software;
                                (g) all other intellectual property and proprietary rights ; and (viii) copies and tangible
                                embodiments thereof (in whatever form or medium, including electronic media).

                                Laws : means laws, statutes, ordinances , rules, regulations, judgments , inju nctions
                                                                                                                       ,
                                orders and decrees of any Governmental Authority, including any amendments thereto.

                                Maximum Claim : defined in Schedule 2.

                                Network Launch : means the public release of the Project main net.

                                Organizational Documents : means the articles of incorporat ion, certificate
                                                                                                                       of
                                incorporation , charter, by-laws, articles of formation , certificate of formation,
                                regulations, operating agreement, certificate of limited partnership, partnershi
                                                                                                                        p
                                agreement and all other similar documents, instruments or certificates executed,
                                adopted or filed in connection with the creation , formation or organization of a Person
                                                                                                                         ,
                                including any amendments thereto.


                                                                         2




FOIA Confidential Treatment Requested by Polychain                                                                                 POLY00000100
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                                  People 's Republic of China or PRC : means the People 's
                                                                                            Republic of China, which for
                                  the purposes of this Agreement and the Token Distribu
                                                                                           tion, shall include the Hong
                                  Kong Special Administrative Region of the PRC , the Macau
                                                                                                  Special Administrative
                                  Region of the PRC and Taiwan, Republ ic of China .

                                  Person : mans an individual or legal entity or person ,
                                                                                          including without limitation a
                                  Governmental Authority.

                                  Project Plan : means the plan containing a detailed overvie
                                                                                              w of major milestones to be
                                  achieved and approximate dates of execution and launch
                                                                                               of the blockchain-enabled
                                  network of the Project.

                                  Purchase Consideration : as defined in Article 2.1.

                                  Refund Formula : as defined in Article 7 .1.

                                 Sanctions : as defined in Article 4.12(b)(i}.

                                  Securities Act : the U.S. Securities Act of 1933, as amende
                                                                                                d.
                                 Seed Round Designated Settlement Addresses : as set out
                                                                                                 in Schedule 1.
                                 Seed Round Refund Amount : as defined in Article 7.1.

                                 Settlement Date : as defined in Schedu le 1.

                                 SIAC : as defined in Article 7 .12.

                                 Termination Event : as defined in Article 7.1.

                                 Token Distribution : the sale of Tokens by Vendor to (a)
                                                                                               in the initial phase, certain
                                 buyers ofToke ns, including Buyer; and (b) in the Initial Token
                                                                                                 Launch phase, the public.
                                 Token Distribution Dates : as set out in Schedu le 1.

                                 Token Sale : as defined in Article 2.1.

                                U.S. Qualified Person : means a Person who is an "Accred
                                                                                          ited Investor" as defined in
                                Rule 501 (a) of Regulation D under the Securities Act, as
                                                                                          may be modified , amended
                                or supplemented from time to time.

                                US$ : means United States Dollars, the lawful currency of
                                                                                          the United States of America
                                for the time being.

                                Vendor's Indemnities : as defined in Article 6.2.

                                Vendor's Warranties : as defined in Schedule 2.

                                Wallet : as defined in Exhibit 2.

                                White Paper: means one or more documents (whether or
                                                                                            not entitled "White Paper"),
                                as may be amended from time to time in Vendor 's sole
                                                                                          discretion, explaining, among
                                other things, the Project and the Tokens , and including,
                                                                                          but not limited to, the Project
                                Plan, intended timing of the Token Distribution and informa
                                                                                             tion about relevant Vendor
                                personnel.




FOIA Confidential Treatment Requested by Polychain                                                                             POLY00000101
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                                                               2.       SALE OF TOKENS

                          2.1 .    Sale and Distribution of Tokens. On or about the Token Distribution Dates, Vendor
                                   shall deliver to Buyer such number ofTokens as specified in Schedule 1 hereof ("Buyer
                                   Tokens") for the US$-denominated purchase consideration amount specified
                                                                                                                      in
                                   Schedule 1 hereof ("Purchas e Consideration") payable in the Designated Digital
                                   Asset in accordance with Article 2.2 , free of Encumbrances ("Token Sale").

                          2.2.     Settlement of Purchase Consideration. Subject to the terms and conditions set forth
                                                                                                                        in
                                   Article 5, an amount equal to such Purchase Consideration shall be paid by Buyer
                                                                                                                        to
                                   Vendor by way of transfer by Buyer of such amount of Designated Digital Asset
                                   equivalent to the Purchase Consideration (based on a US$-Designated Digital Asset
                                   exchange rate as agreed between the Vendor and the Buyer in writing) to
                                                                                                                      the
                                   applicable Seed Round Designated Settlement Address as designated by Vendor
                                                                                                                       for
                                   the receipt of Purchase Consideration denominated in the Designated Dig ital Asset,
                                                                                                                       on
                                   or before the Settlement Date.

                          2.3.     Obligation of Buyer to provide Information. To the extent that Vendor determines, in
                                                                                                                               its
                                   sole discretion, that it is necessary , prior to the Token Sale, to obtain certain information
                                   about Buyer in order to comply with any applicable law or regulation in connection with
                                   the Token Sale, Buyer shall provide Vendor with such information promptly upon such
                                   request , and acknowledges and accepts that Vendor may refuse to proceed with
                                                                                                                              the
                                   Token Sale or withhold delivery of Tokens to Buyer until such requested information
                                   has been provided to the satisfaction of Vendor. Buyer undertakes to notify Vendor
                                                                                                                                of
                                   any change in the documents and information provided by Buyer to Vendor pursuant
                                   to this Agreement and in the absence of any notification in writi ng notifying of any
                                   change , Vendor is entitled to assume that the documents and information provided
                                                                                                                               by
                                   Buyer remain true, correct, not misleading and unchanged.

                         2.4.     Reliance. Each of the Parties acknowledges that it has entered into this Agreemen
                                                                                                                     t in
                                  reliance upon the other Party's representations and warranties being true, accurate,
                                  complete and non-misleading . Save to the extent set out in this Agreement, no Party
                                  makes any other representations or warranties, express or implied , to the other Party
                                  and each Party acknowledges to the other Party that it has not relied on or been
                                  induced by any other warranties or representations made by the other Party to enter
                                  into this Agreement.

                                         3.       REPRESENTATIONS AND WARRANTIES OF VENDOR

                         Vendor hereby represents and warrants to Buyer, as of the date hereof and
                                                                                                   subject to
                         Incorporation and Ratification , as follows:

                         3.1 .    Formation and Standing. Vendor shall on Incorporation be a corporation duly
                                  organized, validly existing and in good standing under the Laws of Vendor's country
                                                                                                                      of
                                  incorporation, and has all requisite corporate power and authority to carry on
                                                                                                                    the
                                  transactions contemplated of Vendor under this Agreement.

                         3.2.     Authorization of Agreement, etc. Vendor shall on Incorporation and Ratification have
                                  all requisite power and authority to execute and deliver this Agreement and Vendor has
                                  all requisite power and authority to sell the Buyer Tokens to Buyer and to carry out and
                                  perform its obligations under this Agreement, and this Agreement will constitute a legal,
                                  valid and binding obligation of Vendor enforceable against Vendor in accordance with
                                  its terms , except that such enforceability may be limited by applicable bankruptc
                                                                                                                         y,
                                  insolvency , reorganization, moratorium and similar laws of general application relating
                                  to or affecting creditors' rights generally and by equitable principles (regard less
                                                                                                                         of
                                  whether enforcement is sought in a proceeding in equity or at law).


                                                                            4




FOIA Confidential Treatment Requested by Polychain                                                                                   POLY00000102
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                          3.3.    Compliance with Laws and Other Instruments. The execution, delivery and
                                  performance of this Agreement will not result in (a) any violation of, be in conflict with
                                  in any material respect, or constitute a material default under, with or without
                                                                                                                           the
                                  passage of time or the giving of notice (i) any provision of Vendor's Organizational
                                  Documents; (ii) any provision of any permit, franchise, judgment, decree or order
                                                                                                                             to
                                  which Vendor is a party, by which it is bound , or to which any of its material assets
                                                                                                                          are
                                  subject; (iii) any material contract, obligation, or commitment to which Vendor is a party
                                  or by which it is bound ; or (iv) any Laws applicable to Vendor, or (b) the creation of any
                                  material lien, charge or Encumbrance upon any material assets of Vendor.

                          3.4.    No Consents or Approvals. The execution and delivery of and performance under this
                                  Agreement require no approval or other action from any Governmental Authority
                                                                                                                  or
                                  Person within Vendor's jurisdiction of incorporation.

                          3.5.    Intellectual Property. Vendor shall on Incorporation have good and valid title to
                                                                                                                            all
                                  owned Intellectual Property. To the extent that could be reasonably known to Vendor,
                                  it has not infringed, diluted, misappropriated or otherwise violated the rights of any third
                                  party in respect of any Intellectual Property. None of such Intellectual Property owned
                                  by Vendor is subject to any outstanding order, ruli ng, decree, judgment or stipulation
                                  by or with any court, tribunal , arbitrator or Governmental Authority.

                                         4.        REPRESENTATIONS ANO WARRANTIES OF BUYER

                         Buyer hereby represents , warrants and covenants to Vendor, as of the date hereof
                                                                                                           up to and
                         including the Token Distribution Dates , as follows :

                         4.1 .    Accredited Investor or Non-U.S. Investor

                                  (a)      For U.S. Persons . If Buyer is a "U.S. Person" as defined in Rule 902(k) of
                                          Regulation S of the Securities Act, then Buyer understands the definition of an
                                          "Accredited Investor'' as defined in Rule 501 (a) of Regulation D under the
                                          Securities Act. and represents that Buyer is an "Accredited Investor'' and and
                                          has such knowledge and experience in financial and business matters that it
                                          is capable of evaluating the merits and risks of the purchase of Tokens to be
                                          made by it hereunder. Buyer understands that that Buyer will be required to
                                          provide documentation to the Vendors and/or their authorized agent{s) to verify
                                          Buyer's status as an "Accredited Investor" and failure to provide such
                                          documents will disqualify the Buyer from purchasing Tokens and the Vendors
                                          will not accept subscriptions from Buyers who fail to verify their status as an
                                          "Accredited Investor".

                                 (b)      Non-U.S. Persons. If Buyer is not a person as described in Article 4.1(a) above,
                                          Buyer understands the definition of "U.S. Person" as defined in Rule 902(k) of
                                          Regulation S of the Securities Act and represents that Buyer is not a U.S.
                                          Person.

                         4.2.    Eligibility. Buyer is not:

                                 (a)      located in the People's Republic of China or a citizen or resident (tax or
                                          otherwise) of, or domiciled in, the People's Republic of China;

                                 (b)      located in the United States of America or a citizen , resident (tax or otherwise)
                                          or green card holder of, or domiciled in, the United States of America, unless
                                          Buyer is a U.S. Qualified Person; or



                                                                          5




FOIA Confidential Treatment Requested by Polychain                                                                                POLY00000103
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                                    (c)      located in a jurisdiction where the Token Sale is prohibited ,
                                                                                                              restricted or
                                             unauthorized in any form or manner whether in full or in part under
                                                                                                                 the Laws,
                                             regulatory requirements or rules in such jurisdiction.

                          4.3.     Formation and Standing. Buyer is either an ind ividual or an entity
                                                                                                       duly incorporated or
                                   formed, validly existing and in good standing under the Laws of
                                                                                                      Buyer's jurisdiction of
                                   incorporation or formation , and has full right, corporate , partners
                                                                                                        hip, limited liability
                                   company or similar (as the case may be) power and authority
                                                                                                         to enter into and
                                   consummate the transact ions contemplated by this Agreement and
                                                                                                         otherwise to carry
                                   out its obligations hereunder and thereunder.

                          4.4 .    Authorization of Agreement. etc. Buyer has all requisite power and
                                                                                                        authority to execute
                                   and deliver this Agreement and purchase the Buyer Tokens
                                                                                                     and to carry out and
                                   perform its obligations under this Agreement, and this Agreement
                                                                                                      will constitute a legal,
                                   valid and binding obligation of Buyer enforceable against Buyer
                                                                                                     in accordance with its
                                   terms, except that such enforceability may be limited by applicab
                                                                                                             le bankruptcy,
                                   insolvency, reorganization, moratorium and similar laws of general
                                                                                                        application relating
                                   to or affecting creditors ' rights generally and by equitable principle
                                                                                                           s (regardless of
                                   whether enforcement is sought in a proceeding in equity or at law).

                         4.5.       Compliance with Laws and Other Instruments. The executio
                                                                                                             n, delivery and
                                   performance of this Agreement will not result in (a) any violation
                                                                                                         of, be in conflict with
                                   in any material respect, or constitute a material default under,
                                                                                                          with or without the
                                   passage of time or the giving of notice (i) to the extent Buyer
                                                                                                        is a corporation , any
                                   provision of Buyer's Organizational Documents ; (ii) any provision
                                                                                                               of any permit,
                                   franchise, judgment, decree or order to which Buyer is a party, by
                                                                                                          which it is bound , or
                                   to which any of its material assets are subject; (iii) any material contract
                                                                                                                , obligation, or
                                   commitment to which Buyer is a party or by which it is bound
                                                                                                          ; or (iv) any Laws
                                   applicable to Buyer, or (b) the creation of any Encumbrance upon
                                                                                                          any material assets
                                   of Buyer.

                         4.6.     No Consents or Approvals. The execution and delivery of and perform
                                                                                                      ance under this
                                  Agreement require no approval or other action from any Governm
                                                                                                    ental Authority or
                                  Person .

                         4.7.      Prohibition on Syndication. Buyer is purchasing Buyer Tokens in
                                                                                                       its personal capacity
                                   as principal and not on behalf of or jointly with another person
                                                                                                      , and Buyer has not
                                   entered into any agreement or arrangement for or in connect
                                                                                                      ion with , and is not
                                   purchasing Buyer Tokens with the view of entering into any agreeme
                                                                                                           nt or arrangement
                                  with another person prior to the Token Distribution Dates for
                                                                                                    or in connection with
                                  resale or transfer of the Buyer Tokens to such person . Buyer
                                                                                                         will not, directly or
                                  indirectly, transfer Buyer Tokens except in accordance with applicab
                                                                                                             le Laws and the
                                  provisions hereof. Buyer understands that Buyer must bear the
                                                                                                           economic risk of
                                  Buyer's purchase of Buyer Tokens for an indefinite period
                                                                                                     of time. Buyer also
                                  understands that to the extent Tokens (which includes Buyer Tokens)
                                                                                                                are securities
                                  under the Laws of any jurisdiction in which Tokens are to be
                                                                                                      traded or subject of
                                  transfers , such trades or transfers of Tokens may be restricted by
                                                                                                       such Laws , and that
                                  no market exists or is expected to develop for the Tokens.

                        4.8 .     The White Paper. Buyer has received a copy of the current White
                                                                                                      Paper prepared in
                                  relation to the Project and has carefully read it. Buyer acknowl
                                                                                                  edges that the White
                                  Paper may change during the time leading up to the Token Distribut
                                                                                                          ion Dates, and
                                  Buyer accepts the obligation to promptly read new versions of the
                                                                                                     White Paper, which
                                  will be made available to Buyer via this website : http://ter
                                                                                                      ra .money. Buyer
                                  acknowledges that Vendor has the sole and absolute discretio
                                                                                                      n in revising the
                                  characteristics of the Tokens . Notwithstanding anything to
                                                                                                   the contrary in this

                                                                           6




FOIA Confidential Treatment Requested by Polychain                                                                                 POLY00000104
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                                    Agreement, Buyer acknowledges, agrees and warrants that Vendor
                                                                                                     shall not have any
                                    obligation to provide or to procure the provision of any refund
                                                                                                    to you under this
                                    Agreement notwithstanding any amendment to the White Paper
                                                                                                     including but not
                                    limited to amendments to the Token characteristics .

                          4.9.     Evaluation of and Ability to Bear Risks . Buyer has such knowled
                                                                                                       ge and experience in
                                   financial matters , business and technology, including but not
                                                                                                       limited to blockchain
                                   technology and other considerations relating thereto to be able
                                                                                                        to evaluate the risks
                                   and merits of (a) this Agreement and (b) the Buyer Tokens to be
                                                                                                         purchased by Buyer
                                   pursuant to this Agreement, including but not limited to the risks outlined
                                                                                                               in Article 4.1 0
                                   herein, and is able to bear such risks . Buyer is an "accredited investor
                                                                                                            " as such term is
                                   defined under the Laws of such jurisdiction where they legally reside
                                                                                                          and/or which apply
                                   to the Token Sale under this Agreement and will provide such docume
                                                                                                            ntation and other
                                   evidence as may be requested by Vendor to establish such status.

                          4.10.    Significant Risks . Buyer understands that the Project and the creation
                                                                                                                  and distribution
                                   of the Tokens involve significant risks, including , but not limited to,
                                                                                                             the risk that (a) the
                                   technology associated with the Project may not function as intended
                                                                                                                 ; (b} the Project
                                   may fail to attract interest or adoption , either from key stakeho
                                                                                                          lders or the broader
                                  commun ity; (c) the Initial Token Launch may not occur; (d) Project
                                                                                                                Company and/or
                                  Vendor may fa il to adequately fund their respective operations and/or
                                                                                                                  the Project; (e)
                                  the Tokens may decrease in value over time and/or lose all monetar
                                                                                                               y value, as there
                                  are no guarantees as to the price of Tokens purchased by Buyer
                                                                                                            and no guarantees
                                  that the price per Token determined by the market will be equal
                                                                                                           to or higher; and (f}
                                  Project Company, Vendor and/or the Project may be subject
                                                                                                          to investigation and
                                  enforcement actions from Governmental Authorities , and
                                                                                                        these Governmental
                                  Authorities may make changes to existing Laws, regulations and/or
                                                                                                            rules that will affect
                                  cryptographic tokens, digital assets , blockchain technology
                                                                                                        and its applications .
                                  Further, Buyer has carefully read and considered the risk factors
                                                                                                         and other information
                                  relating to Vendor, Project Company and the Project contained herein
                                                                                                              , including Exhibit
                                  2 hereto. Buyer acknowledges and understands that that the risks
                                                                                                           set forth in Exhibit 2
                                  do not exhaustively contain all of the risks rel ating to the purchas
                                                                                                        e of Tokens, and that
                                  Vendor bears no liability or respons ibility to Buyer with respect to
                                                                                                          the risks associated
                                  with or relating to the purchase of the Tokens.

                         4.11.    Taxes. Buyer acknowledges , understands and agrees that: (a)
                                                                                                         the purchase and
                                  receipt of Tokens may have tax consequences for Buyer;
                                                                                                       (b) Buyer is solely
                                  responsible for Buyer's compliance with Buyer's tax obligations;
                                                                                                      and (c) Vendor bears
                                  no liability or responsibility with respect to any tax consequences
                                                                                                       to Buyer.
                         4.12.    Anti-Money Laundering and Sanctions Compliance.

                                  (a)     Anti-Money Laundering and Counter-Terrorism Financing. To
                                                                                                          the extent
                                          required by applicable Laws, Buyer represents and warrants to
                                                                                                         Vendor that
                                          Buyer complies with all anti-money laundering and anti-terrorism-fin
                                                                                                              ancing
                                          requirements .

                                  (b)      Sanctions Compliance. Neither Buyer, nor any person having
                                                                                                                  a direct or
                                          indirect beneficial interest in Buyer or the Tokens being purchas
                                                                                                                ed by Buyer,
                                          nor any person for whom Buyer is acting, is (i) the subject
                                                                                                                of sanctions
                                          administered or enforced by the United States of America (includin
                                                                                                                    g without
                                          limitation the U.S. Department of the Treasury's Office of Foreign
                                                                                                                         Asset
                                          Control) , the United Kingdom, the European Union or any other Governm
                                                                                                                          ental
                                          Authority (collectively, "Sanctio ns"), (ii) organized or resident in
                                                                                                                 a country or
                                          territory that is the subject of country-wide or territory -wide Sanction
                                                                                                                     s , or (iii)



                                                                           7




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                                            otherwise is a party with which Vendor is prohibited from dealing under
                                            applicable Laws.

                          4.13.    Truth and Accuracy . Buyer represents and warrants to Vendor that all the
                                                                                                               documents
                                   and information furn ished by Buyer to Vendor pursuant to this Agreeme
                                                                                                               nt are true,
                                   accurate and complete in all respects, and there is no matter, event, circumsta
                                                                                                                     nce or
                                   any other information which has arisen which would make any documen
                                                                                                                    ts and
                                   information provided misleading or incomplete, or any fact or information
                                                                                                             the omission
                                   of which would make any documents and information provided misleadin
                                                                                                                      g or
                                   incomplete.

                                                          5.        CONDITIONS PRECEDENT

                          5.1.     Conditions to Obligation of Vendor. The obligations of Vendor to consumm
                                                                                                                 ate the
                                   Token Sale and all other transactions contemplated hereby shall be subject
                                                                                                              to:
                                   (a)      receipt by Vendor of a legal opinion from its legal advisor that Part XIII of
                                                                                                                          the
                                            Securities and Futures Act, Cap. 289 of Singapore, is not applicable to
                                                                                                                          the
                                            Token Sale on or before the Token Distribution Dates;

                                   (b)     receipt by Vendor of Purchase Consideration in fu ll in accordance with
                                                                                                                   this
                                           Agreement on or before Settlement Date;

                                   (c)     compliance by Buyer of its obligations under this Agreement; and

                                   (d)     the truth and accuracy of Buyer's representations and warranties (which
                                                                                                                    are
                                           continuing obligations and remain true and accurate post-Settlement Date),

                                  but shall remain subject to all other provisions of this Agreement, including
                                                                                                                without
                                  limitation the termination right pursuant to Article 7 .1.

                                                6.        DISCLAIMER; LIMITATIONS; INDEMNITY

                         6.1.     No Claim. Loan or Ownersh ip Interest. Neither this Agreement nor the purchase
                                                                                                                             of the
                                  Buyer Tokens (i) provides Buyer with any claim whatsoever with respect
                                                                                                                         to Proxy,
                                  Vendor, its Affiliates and/or their respective assets ; (ii) is a loan to Vendor;
                                                                                                                    (iii) provides
                                  Buyer with any ownership interest whatsoever in Vendor; and (iv) provides
                                                                                                                       Buyer with
                                  any rights of a stockholder of Vendor or any right to vote for the election of
                                                                                                                     directors or
                                  upon any matter submitted to stockholders at any meeting thereof, or to give
                                                                                                                      or withhold
                                  consent to any corporate action or to receive notice of meetings , or
                                                                                                                       to receive
                                  subscript ion rights or otherwise.

                         6.2.     Indemnification by Buyer. Buyer shall defend, indemnify and hold harmless
                                                                                                                        Proxy,
                                  Vendor, its Affiliates and their officers , directors , employees , agents , successo
                                                                                                                        rs and
                                  assigns (collectively, the "Vendor 's Indemnities") from and against,
                                                                                                                   and pay or
                                  reimburse the Vendor' s Indemnities for, any and all losses resulting
                                                                                                                 from (a) any
                                  inaccuracy in or breach of any representation or warranty when made or deemed
                                                                                                                         made
                                  by Buyer in or pursuant to this Agreement, (b) any wilful or negligent
                                                                                                                  breach of or
                                  default in performance by Buyer under this Agreeme nt.

                        6.3.      Limitation of Liability. The liability of Proxy and Vendor for a breach or any
                                                                                                                 claim under
                                  this Agreement is subject to the limitations and qualifications set out in Schedule
                                                                                                                        2.

                                                               7.     MISCELLANEOUS




                                                                            8




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                          7.1.    Termination .

                                  (a)      Vendor shall be entitled by notice in writing to Buyer to terminat
                                                                                                                            e this
                                           Agreement if (i) Buyer does not comply with its obligations
                                                                                                                      under this
                                           Agreement; (ii) the development of Project is required by any applicab
                                                                                                                         le law to
                                           cease or terminate before the Token Distribution Dates ; (iii) the
                                                                                                                   development
                                           of Project disconti nues as a result of any event beyond the control
                                                                                                                       of Project
                                           Company and/or Vendor, which cannot be resumed within three
                                                                                                                     (3) months;
                                           (iv) the creation, distribution or issuance of Tokens is illegal , invalid,
                                                                                                                       prohibited
                                           by any government in any jurisdiction, or forced by any applicable
                                                                                                                   law to cease,
                                           or becomes subject to any approva l, registrat ion, filing or other
                                                                                                                        statutory
                                           procedure or req uirement that Project Company and/or Vendor are
                                                                                                                       unable or
                                           choose not to meet.

                                  (b)     The Buyer shall be entitled by notice in writing to Buyer to terminat
                                                                                                               e this
                                          Agreement if the Network Launch does not occur on or prior to 30
                                                                                                           September
                                          2019 ("Network Launch Termination Clause").

                                 Upon any such terminat ion (whether pursuant to Article 7.1(a)
                                                                                                   or (b)) ("Termination
                                 Event") , Buyer shall not be entitled to receive any Tokens , and
                                                                                                   Vendor shall refund to
                                 Buyer such part of the Purchase Consideration ("Seed Round
                                                                                                   Refund Amount") as
                                 determined in accordance with the following formula ("Refund Formul
                                                                                                          a"):


                                    Second
                                                      Seed Round Remaining Token Sale Proceeds
                                    Round
                                                  =     Seed Round Total Token Sale Proceeds                      Purchase
                                    Refund                                                                 X
                                                                                                                Consideration
                                    Amount


                                         where :

                                        "Applicable Websi te" means :

                                         (a)      the historica l snapshot portal on the Coinmarketcap website , which
                                                                                                                       as
                                                  at the date of this Agreement can be found
                                                                                                                    at
                                                  www.co inmarke tcap.com /historical;

                                        (b)       the Bitfinex website , which as at the date of this Agreement can be
                                                                                                                       found
                                                  at : https://www.bitfinex.com/ ; or

                                        or any other Digital Asset exchange or price informat ion aggrega
                                                                                                         tion website
                                        that the Parties may agree to in writing;

                                        "Seed Round Remaining Token Sale Proceeds" means the Seed
                                                                                                       Round Total
                                        Token Sale Proceeds to the extent not utilized or expended
                                                                                                      by Vendor in
                                        connect ion with the Project as at the Termination Event; and

                                        "Seed Round Total Token Sale Proceeds" means the US$-den
                                                                                                                ominated
                                        amount in BTC and ETH received from all purchasers of Tokens
                                                                                                                (including
                                        Buyer) at the Seed Round Designated Settlement Addresses
                                                                                                          for the sale of
                                        Tokens up to the Termination Event, which shall be determined
                                                                                                            based on the
                                        relevant US$:Digital Asset exchange rate as specified on Applicab
                                                                                                            le Website at
                                        10:00 hours Korea Standard Time (KST) at the election of the Vendor,
                                                                                                                    on (a)
                                        the Settlement Date; or (b) the date of occurrence of Term ination
                                                                                                           Event.




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                                  Notwithstanding that Purchase Consideration is payable/had been paid by way of
                                  Designated Digital Asset pursuant to Article 2.2, the Vendor shall have the right to elect
                                  in its sole and absolute discretion to :

                                  (a)     refund the Seed Round Refund Amount in US$; or

                                  (b)     refund the Seed Round Refund Amount in the Designated Digital Asset, in
                                          which event, the amount of Designated Digital Asset comprised in the Seed
                                          Round Refund Amount shall be determined by applying the Designated Digital
                                          Asset amount as was received by the Vendor from the Buyer pursuant to
                                          Article 2.2 to the "Purchase Consideration" component of the Refund Formula.

                                 In any event, this Agreement shall terminate on the full receipt by Buyer of Buyer
                                 Tokens , provided that Articles 6 and 7 of this Agreement shall survive any termination
                                 hereof and upon receipt of Buyer Tokens pursuant to this Agreement , Buyer shall not
                                 be entitled to any refund of Purchase Consideration (save to the extent of Buyer's rights
                                 under Network Launch Termination Clause).

                         7.2.    Govern ing Law. This Agreement shall be governed in all respects , including as to
                                 validity, interpretation and effect, by the Laws of Singapore, without giving effect to its
                                 principles or rules of conflict of laws, to the extent such principles or rules are not
                                 mandatorily applicable by statute and would permit or require the application of the
                                 Laws of another jurisdiction .

                         7.3.    Successors and Assigns. This Agreement shall be binding upon and inure to the benefit
                                 of the Parties, and their respective heirs, successors and permitted assigns . This
                                 Agreement shall not be assignable or otherwise transferable without the prior written
                                 consent of the other Party, provided that Vendor may assign or transfer this Agreement
                                 to an Affiliate, and Buyer shall sign , execute and deliver any and all deeds, instruments,
                                 agreements and/or other documents in connection with such assignment or transfer
                                 and do all other acts and things and take all such steps as may be necessary, desirable
                                 or expedient to give effect to such assignment or transfer. Buyer acknowledges and
                                 agrees that Vendor shall not be obliged to deliver the Buyer Tokens unless and until
                                 Buyer complies with its obligations under this provision . Any purported assignment in
                                 violation of this provision or in violation of applicable Laws shall be void.

                         7.4 .   Release. In the event that Vendor adopts this Agreement pursuant to BVI Section 104,
                                 the Proxy shall be released from all obligations under this Agreement from such
                                 execution.

                         7 .5.   Entire Agreement. This Agreement constitutes the entire agreement between the
                                 Parties and supersedes all prior or contemporaneous agreements and understandings,
                                 both written and oral, between the Parties with respect to the subject matter hereof.

                         7.6.    Construction . The Parties agree that any applicable rule requiring the construction of
                                 this Agreement or any provision hereof against the Party drafting this Agreement shall
                                 not apply.

                         7. 7.   Reasonableness. Each Party confirms it has received independent advice (legal or
                                 otherwise) relating to all the matters provided for in this Agreement, and agrees that
                                 the provisions of this Agreement (including all documents entered into pursuant to this
                                 Agreement) are fa ir and reasonable.

                         7.8 .   Severability. If any provision of this Agreement is determined by a court of competent
                                 jurisdiction to be invalid , inoperative or unenforceable for any reason, the Parties shall
                                 negotiate in good faith to modify this Agreement so as to effect the original intent of the


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                                    Parties as closely as possible in an acceptable manner in order that the
                                                                                                             transactions
                                    contemplated hereby be consumed as originally contemplated to the
                                                                                                            fullest extent
                                    possible.

                          7.9.      Counterparts . This Agreement may be executed in several counterparts , each
                                                                                                                    of which
                                    shall be deemed an original and all of which shall together constitute one
                                                                                                               and the same
                                    document.

                          7.10 .    No Partnership and No Agency. Nothing in this Agreement and no action
                                                                                                               taken by the
                                    Parties pursuant to this Agreement shall constitute, or be deemed to
                                                                                                               constitute , a
                                    partnership, association, joint venture or other co-operative entity between
                                                                                                                 any of the
                                    Parties. Nothing in this Agreement and no action taken by the Parties pursuant
                                                                                                                      to this
                                    Agreement shall constitute , or be deemed to constitute, any Party as the
                                                                                                               agent of the
                                    other Party for any purpose. No Party has, pursuant to this Agreement,
                                                                                                              any authority
                                    or power to bind or to contract in the name of any other Party.

                          7.11 .    Third Party Rights. Save for Proxy and Vendor's Affiliates who shall have
                                                                                                              rights to the
                                    extent accorded thereto under this Agreement, any person who is not a
                                                                                                              party to this
                                    Agreement shall have no right under the Contracts (Rights of Third
                                                                                                             Parties) Act,
                                    Chapter 538 of Singapore to enforce any provisions of this Agreement.

                          7.12.    Dispute Resolution . Parties shall cooperate in good faith to resolve any dispute
                                                                                                                      or claim
                                   arising out of or in any way relating to this Agreement. If the Parties are
                                                                                                                    unable to
                                   resolve such dispute or claim within ninety (90) days, such dispute or claim
                                                                                                                      shall be
                                   finally settled by arbitration, and judgment upon the award may be entered
                                                                                                                 by any court
                                   having jurisdiction thereof or having jurisdiction over the relevant Party
                                                                                                                or its assets .
                                   The arbitration shall be conducted under the rules of the Singapore
                                                                                                                International
                                   Arbitration Centre ("SIAC"). The arbitration tribunal shall consist of a sole
                                                                                                                 arbitrator to
                                   be appointed by the President of the SIAC. The language of the arbitratio
                                                                                                                   n shall be
                                   English.

                         7.13.      Publications and Notifications. Fees and Expenses. The Parties shall
                                                                                                              agree to any
                                   press release or publication that jointly involves the names , brands or
                                                                                                              officers of all
                                   Parties. Written correspondence and notifications among the Parties ,
                                                                                                             whether as a
                                   result of a dispute or otherwise intended to be official correspondence, may
                                                                                                                 be through
                                   email or other common forms of social media (including but not limited to
                                                                                                             Skype, Slack,
                                   WeChat and WhatsApp). Each Party shall be solely liable for all its own fees
                                                                                                                 , costs and
                                   otherwise in connection with negotiation and execution of this Agreeme
                                                                                                                nt and any
                                   future dealings between the Parties and/or future publications regarding
                                                                                                             the Parties .
                         7.14.      Electronic Communications . Buyer agrees and acknowledges that all
                                                                                                              agreements,
                                   notices, disclosures and other communications that Vendor provides Buyer
                                                                                                                   pursuant
                                   to this Agreement or in connection with or related to Buyer's purchase of Buyer
                                                                                                                    Tokens,
                                   including this Agreement, may be provided by Vendor, in its sole discretion
                                                                                                                , to Buyer,
                                   in electronic form.

                         7 .15.    Confiden tiality. This Agreement shall remain confidential among the
                                                                                                                Parties in
                                   perpetuity, except to the extent required to be disclosed pursuant to applicabl
                                                                                                                  e Laws.




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                                                                 SCHEDULE 1
                                                       Particulars of Buyer/ Token Sale

                           Particulars of   Name:
                           Buyer            Nationality/ Place of Incorporation:
                                            Identification Number / Company Registration Number:
                                            Address:
                                            Email:
                                            Fax:

                           Buyer Tokens     Such number of Tokens (rounded up to the nearest whole Token) as
                                            determined as follows :

                                                   ____P_u_rc_h_a_s_e_C_o_n_s_id_e_ra_t_io_n_ ___ x Total Initial Token
                                                             US$230,000,000                       Supply

                                            where :

                                            "Total Initial Token Supply" means 1,000,000,000 Tokens or such other
                                            amount ofTokens declared by the Vendor to be the total amount ofTokens
                                            that will be created during the initial token generating event in connection
                                            with the Initial Token Launch.

                           Designated       BTC
                           Digital Asset

                          Purchase          US$3,000,000.00
                          Consideration

                          Settlement        July 131\ 2018 or such other date as agreed by Vendor in writing .
                          Date

                          Token             1.     The equivalent of 10% of the Buyer Tokens on such date that
                          Distribution             Vendor will be distributing the Tokens to other buyers of Tokens,
                          Dates                    which will be announced by Vendor via such channel(s) as Vendor
                                                   may inform Buyer in writing ("First Distribution Date");

                                            2.     the equivalent of 10% of the Buyer Tokens on or prior to such date
                                                   falling 30 days from the First Distribution Date ("Second
                                                   Distribution Date");

                                            3.     the equivalent of 10% of the Buyer Tokens on or prior to such date
                                                   falling 30 days from the Second Distribution Date ("Third
                                                   Distribution Date"); and

                                            4.     the balance of the Buyer Tokens on or prior to the 300th day from
                                                   the First Distribution Date (" Final Distribution Date"),

                                                   (the First Distribution Date , Second Distribution Date, Third
                                                   Distribution Date and Final Distribution Date collectively, the
                                                   "Token Distribution Dates").

                          Seed Round        Such blockchain address compatible for receipt of Designated Digital
                          Designated        Asset as may be designated by Vendor and informed by Vendor to Buyer
                          Settlement        in writing.
                          Addresses



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                                                                   SCHEDULE 2

                                                               Limitation of Liability

                          Notwithstanding anything in this Agreement to the contrary, the provisions in this Schedule 2
                          shall operate to limit the liability of Vendor and Proxy in respect of any claim by Buyer.

                          1.     Warranties
                                 The several representations and warranties of Vendor ("Vendor's Warranties") and
                                 such other covenants, undertakings and indemnities expressly set out in this
                                 Agreement are the only representations, warranties, undertakings or other assurances
                                 of any kind given by or on behalf of Vendor to Buyer and all other warranties , expressed
                                 or implied by law, trade , custom , usage or otherwise are hereby expressly excluded by
                                 Vendor.

                          2.     De Minimis Claims
                                 No liability shall in any event arise in respect of any claim for breach of the Vendor's
                                 Warranties or any claim pursuant to any other provision of this Agreement unless the
                                 aggregate amount of the claim (together with the aggregate amount of any previous
                                 claims made against Vendor and/or Proxy) shall exceed 5% of the Purchase
                                 Consideration.

                          3.     De Maximis Claims
                                 The aggregate liability of Vendor and Proxy in respect of claims by Buyer made for
                                 breach of the Vendor's Warranties shall not in any event exceed 100 per cent. of the
                                 amount of the Purchase Consideration ("Maximum Claim"). For the avoidance of
                                 doubt, the Maximum Claim shall be based on the US$-denom inated value of the
                                 Purchase Consideration as stated in Schedule 1, notwithstanding the Buyer making
                                 payment for the Buyer Tokens by way of Designated Digital Asset pursuant to Article
                                 2.2.

                         4.      Time Limitation
                                 Vendor and/or Proxy shall not be liable in any way or in any event in respect of any
                                 claim under this Agreement if such claim was not made in the period commencing from
                                 the Settlement Date to the date falling one (1) year after the Settlement Date (such
                                 period being the "Claim Period"). Any claim or indemnity claim which has been made
                                 before the expiration of the Claim Period shall, if ii has not been previously satisfied in
                                 full. settled or withdrawn. be deemed to have been withdrawn and shall become fully
                                 barred and unenforceable on the expiry of the period of one (1) year commencing from
                                 the date on which such claim was made, unless proceedings in respect thereof shall
                                 have been commenced against Vendor and/or Proxy and for this purpose proceedings
                                 shall not be deemed to have been commenced unless they shall have been issued and
                                 served upon Vendor and/or Proxy.

                         5.      Buyer shall not be entitled lo recover or otherwise obtain reimbursement or restitution
                                 from Vendor and/or Proxy under this Agreement more than once in respect of the same
                                 damage suffered.

                         6      For the avoidance of doubt, nothing in this Schedule 2 shall limit Buyer's obligation (at
                                law or otherwise) to mitigate its loss in respect of any claim under thi s Agreement, and
                                Buyer shall not be entitled to recover damages in respect of any claim (as the case
                                may be} if, and to the extent that, Buyer has already recovered damages in respect of
                                the same fact or subject matter.

                         7.     Vendor and/or Proxy shall not be liable under any circumstances for any indirect,
                                incidental , special or consequential loss arising from any breach of the Vendor's
                                Warranties.


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                                                                     EXHIBIT 1

                                                              Token Characteristics

                          In this Agreement, the "Tokens" shall mean the Luna Tokens (LUN) , the characteristics of
                          which are described further in this Exhibit 1, and "Token" shall be construed accordingly.

                          Luna Tokens

                          Token name: Luna Tokens (singular: Luna Token)
                          Token symbol: LUN

                          Luna Tokens Functions :••

                              •   Provide voting-by-stake functionality in Terra's decentralized price oracle
                              •   Other relevant governance features

                          ..The exact governance mechanisms are yet to be developed.**

                          **Further functi onality may be added by the development team as research and development
                          around the platform continues . Information on such functionality will be made available to Buyer
                          on updated versions of the White Paper which will be made available to Buyer via the website:
                          http://terra.money••




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  (SGY7MKR )RZIPSTI -( )')&'%*'*')




                                                                    EXHIBIT 2

                                                                  Risk Factors

                          RISKS RELATING TO PARTICIPATION IN THE TOKEN DISTRIBUTION

                         Investments in startups such as the Vendor and the Project Company involve a high
                         degree of risk.

                         Financial and operating risks confronting startups are significant and the Vendor and the Project
                         Company are not immune to these. Startups often experience unexpected problems in the
                         areas of product development, marketing, financing, and general management, among others,
                         which frequentl y cannot be solved.

                          The Vendor and/or the Project Company may be forced to cease operations.

                         It is possible that, due to any number of reasons, including, but not limited to, an unfavorable
                         fluctuation in the value of cryptographic and fiat currencies, the inability by the Vendor and/or
                         the Project Company to establish the Project or the Tokens' utility, the failure of commercial
                         relationships, or intellectual property ownership challenges, the Vendor and/or the Project
                         Company may no longer be viable to operate and the Vendor and/or the Project Company may
                         dissolve or take actions that result in a dissolution of the Vendor and/or the Project Company.

                         This Agreement may not be transferred without the consent of Vendor.

                         The terms of this Agreement provide that Buyer may not transfer or assign this Agreement
                         without the consent of Vendor and only if such transfer is in compliance with the Laws of
                         applicable Governmental Authorities.

                          The tax treatment of this Agreement, the purchase rights contained therein and the
                          Token Distribution is uncertain and there may be adverse tax consequences for Buyers
                         upon certain future events.
                         The tax characterization of this Agreement and the Tokens is uncertain, and Buyer must seek
                         its own tax advice in connection with an investment in the Tokens . An investment pursuant to
                         this Agreement and the purchase of Tokens pursuant thereto may result in adverse tax
                         consequences to Buyer, including withholding taxes, income taxes and tax reporting
                         requirements . Buyer should consult with and must rely upon the advice of its own professional
                         tax advisors with respect to tax treatment of an investment in the Tokens pursuant to this
                         Agreement.

                          There is no prior market for Tokens and the Token Distribution may not result in an
                         active or liquid market for the Tokens
                         Prior to the Token Distribution, there has been no public market for the Tokens. In the event
                         that the Tokens are traded on a cryptocurrency exchange, there is no assurance that an active
                         or liquid trading market for the Tokens will develop or if developed, be sustained after the
                         Tokens have been made available for trading on such cryptocurrency exchange . There is also
                         no assurance that the market price of the Tokens will not decline below the Purchase
                         Consideration at which Buyer acquired the Tokens at. The Purchase Consideration may not be
                         indicative of the market price of the Tokens after they have been made available for trading on
                         a cryptocurrency exchange .
                         A Token is not a currency issued by any central bank or national, supra-national or quasi-
                         national organisation, nor is it backed by any hard assets or other credit. The Vendor is not
                         responsible for nor does it pursue the circulation and trading of Tokens on the market. Trading
                         of Tokens merely depends on the consensus on its value between the relevant market
                         participants, and no one is obliged to purchase any Token from any holder of the Token, nor
                         does anyone guarantee the liquidity or market price of Tokens to any extent at any time.
                         Accordingly, the Vendor cannot ensure that there will be any demand or market for Tokens, or


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                          that the Purchase Consideration is indicative of the market price of Tokens after they have been
                          made available for trading on a cryptocurrency exchange.

                          Future sales of the Tokens could materially and adversely affect the market price of
                          Tokens

                          Any future sale of the Tokens (which were not available for sale in the Token Distribution) would
                          increase the supply of Tokens in the market and this may result in a downward price pressure
                          on the Token. The sale or distribution of a significant number of Tokens outside of the Token
                          Distribution, or the perception that such further sales or issuance may occur, could adversely
                          affect the trading price of the Tokens.

                          Negative publicity may materially and adversely affect the price of the Tokens

                          Negative publicity involving (a) the Vendor and/or the Project Company; (b) the Project; (c) the
                          Tokens ; or (d) any of the key personnel of the Vendor and/or the Project Company, may
                          materially and adversely affect the market perception or market price of the Tokens , whether
                          or not such publicity is justified.

                          There is no assurance of any success of Project

                          The value of, and demand for, the Tokens hinges heavily on the performance of the Project.
                          There is no assurance that the Project will gain traction after its launch and achieve any
                          commercial success .

                         The Project has not been fully developed, finalised and integrated and is subject to further
                         changes , updates and adjustments prior to its launch. Such changes may result in unexpected
                         and unforeseen effects on its projected appeal to users, and hence impact its success .

                         While the Vendor has made every effort to provide a realistic estimate, there is also no
                         assurance that the cryptocurrencies raised in the Token Distribution will be sufficient for the
                         development and integration of the Project. For the foregoing or any other reason, the
                         development and integration of the Project may not be completed and there is no assurance
                         that it will be launched at all. As such, distributed Tokens may hold little worth or value, and this
                         would impact its trading price.

                         The trading price of the Tokens may fluctuate following the Token Distribution

                         The prices of cryptographic tokens in general tend to be relatively volatile, and can fluctuate
                         significantly over short periods of time. The demand for, and correspondingly, the market price
                         of, the Tokens may fluctuate significantly and rapidly in response to, among others, the
                         following factors, some of which are beyond the control of the Vendor and/or the Project
                         Company:

                         (a)     new technical innovations;

                         (b}     analysts' speculations , recommendations, perceptions or estimates of the Token's
                                 market price or the Vendor's and/or the Project Company's financial and business
                                 performance;

                         (c)     changes in market valuations and token prices of entities with operations similar to that
                                 of the Vendor and/or the Project Company that may be made available for sale and
                                 purchase on the same cryptocurrency exchanges as the Tokens;

                         (d)     announcements by the Vendor and /or the Project Company of significant events, for
                                 example partnerships, sponsorships , new product developments ;



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                          (e)      fluctuations in market prices and trading volume of cryptocurrencies on cryptocur
                                                                                                                     rency
                                   exchanges ;

                          (f)      additions or departures of key personnel of the Vendor and/or the Project
                                                                                                                 Company ;
                          (g)      success or failure of the management of the Vendor and/or the Project
                                                                                                         Company in
                                   implementing business and growth strategies ; and

                          {h)      changes in conditions affecting the blockcha in or financial technology
                                                                                                           industry, the
                                   general economic conditions or market sentiments, or other events or factors
                                                                                                                .

                          RISKS RELATING TO THE WALLET

                          The loss or compromise of information relating to your Wallet (as
                                                                                            defined below) may
                          affect your access and possession of the Tokens

                          For purposes of receipt of your Tokens , you are to establish and maintain
                                                                                                             access to a
                          cryptocurrency wallet ("Wallet"). Your access to the Tokens in the Wallet
                                                                                                     depends on, among
                          other things, the safeguards to the information to such Wallet, including
                                                                                                    but not lim ited to the
                          user account information, address , private key and password . In the event
                                                                                                          that any of the
                          foregoing is lost or compromised , your access to the Wallet may be
                                                                                                   curtailed and thereby
                          adversely affecting your access and possession to the Tokens , includ ing
                                                                                                     such Tokens being
                          unrecoverable and permanently lost.

                          The Wallet or Wallet service provider may not be technically compati
                                                                                                         ble with the Tokens
                         The Wallet or Wallet service provider may not be technically compatible with
                                                                                                      the Tokens which
                         may result in the delivery of Tokens being unsuccessfu l or affect your access
                                                                                                        to such Tokens.
                          RISKS RELATING TO THE VENDOR AND THE PROJECT COMPAN
                                                                                                     Y
                          The Project is intended to be developed, operated and maintained by
                                                                                                the Vendor and/or the
                         Project Company. Any events or circumstances which adversely affect
                                                                                                 the Vendor and/or the
                         Project Company may have a corresponding adverse effect on the Vendor
                                                                                                     and/or the Project
                         Company if such events or circumstances affect the Vendor's and/or the
                                                                                                    Project Company 's
                         ability to maintain the Project. This would correspondingly have an impact
                                                                                                    the trading price of
                         the Tokens.

                         The Vendor and/or the Project Company may be materially and adversel
                                                                                                  y affected if they
                         fail to effectively manage its operations as their business develops
                                                                                               and evolves, which
                         would have a direct impact on their ability to maintain the Project
                                                                                             and consequently the
                         trading price of the Tokens.

                         The financial technology and cryptocurrency industries and the markets
                                                                                                      in which the Vendor
                         and the Project Company compete in have grown rapidly and continue
                                                                                                      to grow rapidly, and
                         continue to evolve in response to new technolog ical advances , changing
                                                                                                     business models and
                         other factors. As a result of this constantl y changing environment, the Vendor
                                                                                                         and/or the Project
                         Company may face operational difficulties in adjusting to the changes, and
                                                                                                       the sustainab ility of
                         the Vendor and the Project Company will depend on their ability to manage
                                                                                                           their respective
                         operations , adapt to technological advances and market trends and ensure
                                                                                                             that they hire
                         qualified and competent employees, and provide proper training for their
                                                                                                     personne l.
                         As their respective business evolves, the Vendor and the Project Company
                                                                                                    must also expand
                         and adapt its operational infrastructure. The Vendor's and the Project Company
                                                                                                          's respective
                         businesses rely on blockcha in-based software systems, cryptocurrency wallets
                                                                                                       or other related
                         token storage mechanisms, blockchain technology and smart contract
                                                                                                  technology, and to


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                           manage technical support infrastructure for the Project effectively, the Vendor and the Project
                           Company will need to continue to upgrade and improve their data systems and other
                          operational systems , procedures and controls. These upgrades and improvements will require
                          a dedication of resources, are likely to be complex and increasingly rely on hosted computer
                          services from third parties that the Vendor and/or the Project Company do not control. If the
                          Vendor and/or the Project Company are unable to adapt their respective systems and
                          organisation in a timely, efficient and cost-effective manner to accommodate changing
                          circumstances, its business, financial condition and results of operations may be adversely
                          affected . If the third parties whom the Vendor and/or the Project Company rely on are subject
                          lo a security breach or otherwise suffer disruptions that impact the respective services the
                          Vendor and/or the Project Company utilise, the integrity and availability of their respective
                          internal information could be compromised, which may consequently cause the loss of
                          confidential or proprietary information, and economic loss. The loss of financi al, labour or other
                          resources, and any other adverse effect on the Vendor's and/or the Project Company's
                          respective business, financial condition and operations , would have a direct adverse effect on
                          the Vendor's and the Project Company's ability to maintain the Project. As the Project is the
                          main product lo which the Tokens relate to, this may adversely impact the trading price of the
                          Tokens.

                          The Vendor and/or the Project Company may experience system failures, unplanned
                          interruptions in its network or services, hardware or software defects, security breaches
                          or other causes that could adversely affect the Vendor's andlor the Project Company's
                          infrastructure network, and/or the Project

                         The Vendor and the Project Company are unable to anticipate when there would be
                         occurrences of hacks, cyber-attacks, mining attacks (including but not limited to double-spend
                         attacks, majority mining power attacks and "selfish-mining " attacks), distributed denials of
                         service or errors, vulnerabilities or defects in the Project, the Tokens, the Wallet or any
                         technology (including but not limited to smart contract technology) on which the Vendor and/or
                         the Project Company, the Project, the Tokens and the Wallet relies or on the Ethereum
                         blockchain or any other blockchain. Such events may include, for example , flaws in
                         programming or source code leading to exploitation or abuse thereof. The Vendor and/or the
                         Project Company may not be able to detect such hacks, mining attacks (including but not limited
                         to double-spend attacks, majority mining power attacks and "selfish-mining" attacks), cyber-
                         attacks, distributed denials of service errors vulnerabilities or defects in a timely manner, and
                         may not have sufficient resources to efficiently cope with multiple service incidents happening
                         simultaneously or in rapid succession.

                          The Vendor's and/or the Project Company's respective network or services , which would
                          include the Project, could be disrupted by numerous events , including natural disasters,
                          equipment breakdown , network connectivity downtime, power losses, or even intentional
                          disruptions of their respective services , such as disruptions caused by software viruses or
                         attacks by unauthorised users, some of which are beyond the Vendor's and/or the Project
                          Company's control. Although the Vendor and the Project Company will be taking steps against
                         malicious attacks on their respective appliances or infrastructure, which are critical for the
                         maintenance of the Project and their respective other services , there can be no assurance that
                         cyber-attacks, such as distributed denials of service, will not be attempted in the future, and
                         that any of the Vendor's and the Project Company's intended enhanced security measures will
                         be effective. The Vendor and the Project Company may also be prone to attacks on their
                         respective infrastructure intended to steal information about their respective technology,
                         financial data or user information or take other actions that would be damaging to the Vendor,
                         the Project Company and users of the Project. Any significant breach of the Vendor's and/or
                         the Project Company's intended security measures or other disruptions resulting in a
                         compromise of the usability, stability and security of the Vendor's and/or the Project Company's
                         network or services (including the Project) may adversely affect the trading price of the Tokens .




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                          The Vendor and the Project Company are dependent in part on the location and data
                          centre facilities of third parties

                           The Vendor's and the Project Company's infrastructure network will be in part established
                           through servers which they respectively own and house at the location faci lities of third parties,
                           and servers that they respectively rent at data centre facilities of third parties. If the Vendor
                           and/or the Project Company are unable to renew their respective data facility lease on
                           commercially reasonable terms or at all, the Vendor and/or the Project Company may be
                           required to transfer their respective servers to a new data centre facility, and may incur
                          significant costs and poss ible service interruption in connection with the relocation. These
                          facilities are also vulnerable to damage or interruption from, among others, natural disasters,
                          arson, terrorist attacks, power losses, and telecommunication failures . Additionally , the third
                          party providers of such facilities may suffer a breach of security as a result of third party action ,
                          employee error, malfeasance or otherwise and a third party may obtain unauthorised access
                          to the data in such servers. As techniques used to obtain unauthorised access to, or to
                          sabotage systems change frequently and generally are not recognised until launched against
                          a target, the Vendor, the Project Company and the providers of such facilities may be unable
                          to anticipate these techniques or to implement adequate preventive measures. Any such
                          security breaches or damages which occur which impact upon the Vendor's and/or the Project
                          Company's infrastructure network and/or the Project may adversely impact the price of the
                          Tokens.

                          General global market and economic conditions may have an adverse impact on the
                          Vendor's and/or the Project Company's operating performance, results of operations
                          and cash flows

                          The Vendor and/or the Project Company could be affected by general global economic and
                          market conditions. Challenging economic conditions worldwide have from time to time,
                          contributed , and may continue to contribute, to slowdowns in the information technology
                          industry at large. Weakness in the economy could have a negative effect on the Vendor's and/or
                          the Project Company's respective business, operations and financia l con dition, including
                          decreases in revenue and operating cash flows. Additionally, in a down-cycle economic
                          environment, the Vendor and/or the Project Company may experience the negative effects of
                          increased competitive pricing pressure and a slowdown in commerce and usage of the Project.
                          Suppliers on which the Vendor and/or the Project Company rely for servers, bandwidth, location
                         and other services could also be negative ly impacted by economic conditions that, in turn, could
                         have a negative impact on the Vendor's and/or the Project Company's respective operations
                         or expenses . There can be no assurance, therefore, that current economic conditions or
                         worsening economic conditions or a prolonged or recurring recession wil l not have a significant
                         adverse impact on the Vendor's and/or the Project Company's respective business , financial
                         condition and results of operations and hence the Project, which would correspondingly impact
                         the trading price of the Tokens.

                         The Vendor, the Project Company and/or the Tokens may be affected by newly
                         implemented regulations

                         Cryptocurrency trading is generally unregulated worldwide, but numerous regulatory authorities
                         across jurisdictions have been outspoken about considering the implementa tion of regulatory
                         regimes which govern cryptocurrency or cryptocurrency markets. The Vendor, the Project
                         Company and/or the Tokens may be affected by newly implemented regulations relating to
                         cryptocurrencies or cryptocurrency markets, including having to take measures to comply with
                         such regu lations, or having to deal with queries, notices, requests or enforcement actions by
                         regulatory authorities , which may come at a substantial cost and may also require substantial
                         modifications to the Tokens and/or the Project. This may impact the appeal of the Tokens
                         and/or the Project for users and result in decreased usage of the Tokens and/or the Project.
                         Further, should the costs (financial or otherwise) of complying with such newly implemented
                         regulations exceed a certain threshold, maintaining the Tokens and/or the Project may no


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                         longer be commercially viable and the Vendor and/or the Project Company may opt to
                         discontinue the Tokens and/or the Project.

                         Further, it is difficult to predict how or whether governments or regulatory authorities may
                         implement any changes to laws and regulations affecting distributed ledger technology and its
                         applications, including the Tokens and the Project. The Vendor and/or the Project Company
                         may also have to cease their respective operations in a jurisdiction that makes it illegal to
                         operate in such jurisdiction, or make it commercially unviable or undesirable to obtain the
                         necessary regulatory approval(s) to operate in such jurisdiction. In scenarios such as the
                         foregoing , the trading price of Tokens will be adversely affected or Tokens may cease to be
                         traded.

                         The regulatory regime governing the b/ockchain technologies, cryptocurrencies,
                         tokens and token offerings such as Token Distribution, the Project and the Tokens is
                         uncertain, and regulations or policies may materially adversely affect the development
                         of the Project and the utility of the Tokens

                         Regu lation of tokens (including the Tokens ) and token offerings such as the Token
                          Distribution, cryptocurrencies, blockchain technologies, and cryptocurrency exchanges
                         currently is undeveloped and likely to rapidly evolve , varies significantly among
                          international, federal , state and loca l jurisdictions and is subject to significant uncertainty.
                         Various legislative and executive bodies in Singapore and other countries may in the
                         future, adopt laws, regulations, guidance, or other actions , which may severely impact the
                         development and growth of the Project and the adoption and utility of the Tokens . Failure
                         by the Vendor, the Project Company or users of the Project to comply with any laws, rules
                         and regulations, some of which may not exist yet or are subject to interpretation and may
                          be subject to change, could result in a variety of adverse consequences , including civil
                         penalties and fines .
                         Blockchain networks also face an uncertain regulatory landscape in many foreign
                         jurisdictions such as the European Union, China, South Korea and Russia. Various foreign
                         jurisdictions may, in the near future, adopt laws, regulations or directives that affect the
                         Project. Such laws, regulations or directives may directly and negatively impact the
                         Vendor's and/or the Project Company's respective business . The effect of any future
                         regulatory change is impossible to predict, but such change could be substantial and
                         materially adverse to the development and growth of the Project and the adoption and
                         utility of the Tokens.

                         New or changing laws and regulations or interpretations of existing laws and regulations
                         may materially and adversely impact the value of the currency in which the Tokens may be
                         sold , the value of the distributions that may be made by the Vendor and/or the Project
                         Company, the liquidity of the Tokens, the ability to access marketplaces or exchanges on
                         which to trade the Tokens , and the structure, rights and transferability of Tokens .

                         Token holders will have no control on the Vendor or the Project Company

                         The holders of Tokens are not and will not be entitled, lo vote or receive dividends or be deemed
                         the holder of capital stock of the Vendor or the Project Company for any purpose, nor will
                         anything be construed to confer on Buyer any of the rights of a stockholder of the Vendor or the
                         Project Company or any right to vote for the election of directors or upon any matter submitted
                         to stockholders at any meeting thereof, or to give or withhold consent to any corporate action
                         or to receive notice of meetings, or to receive subscription rights or otherwise.




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                          Buyer may lack information for monitoring their investment
                          Buyer may not be able to obtain all information it would want rega rding the Vendor, the Project
                          Company, the Tokens, or the Project, on a timely basis or at all. It is possible that Buyer may
                          not be aware on a timely basis of material adverse changes that have occurred. While the
                          Vendor has made efforts to use open-source development for Tokens, this information may
                          be highly technical by nature. As a result of these difficulties , as well as other uncertainties,
                          Buyer may not have accurate or accessible information about the Project.

                          There may be unanticipated risks arising from the Tokens

                         Cryptographic tokens such as the Tokens are a re latively new and dynamic technology. In
                         addition to the risks included in this section , there are other risks associated with the purchase,
                         holding and use of the Tokens, including those that the Vendor and the Project Company
                         cannot anticipate. Such risks may further materialise as unanticipated variations or
                         combinations of the risks discussed in this Agreement.




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                          IN WITNESS WHEREOF , the Parties have duly executed this Agreement as of the date first
                          above written .


                          VENDOR

                           SIGNED by
                           DANIEL HYUNSUNG SHIN &              KWON    DO
                           HYEONG
                           for and on behalf of                                [ y OocuSigned by:
                           TERRAFORM LABS PTE. LTD.                              VoJ.AiJ, sl.ulA,
                                                                                   91 A033EEZA1Od9F
                                                                                Daniel Hyunsung Shin




                                                                              [£v()DocuS igned by:

                                                                                      kw()IA,
                                                                                   4C2CCOQ536Q0400
                                                                               Do Hyeong Kwon




                          BUYER (IF BUYER IS A CORPORATION)

                           SIGNED by   Q{~f url.J,~ -W(f_

                      ~/:1.,..t,(/                                  LP

                         BUYER (IF BUYER IS AN INDIVIDUAL)

                           SIGNED by




                                                      SIGNING PAGE TO TOKEN SALE AGREEMENT




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